Case 9:22-mj-08332-BER Document 55 Entered on FLSD Docket 08/15/2022 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-MJ-8332-BER


   IN RE SEALED SEARCH WARRANT                               FILED UNDER SEAL

   __________ ____ /
                     MOTION TO SEAL SECOND NOTICE OF FILING

          The United States of America moves the Court to place under seal, until further

   order of the Court, the Second Notice of Filing of Redacted Documents, and the attachment

   to that notice, filed on August 15, 2022. In support of the Motion, the government states:

          I.     Courts have inherent power to control access to papers filed with the courts.

   Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978). Courts have traditionally

   been "highly deferential to the government's determination that a given investigation

   requires secrecy and that warrant materials be kept under seal." Times Mirror Co. v. United

   States, 873 F.2d 1210 (9th Cir. 1989). Therefore, courts have routinely granted government

   requests to seal warrant materials where there is a need for secrecy. See Washington Post v.

   Robinson, 935 F.2d 282,289 (D.C. Cir. 1991).

          2.     The Court previously granted the government's motion to seal the search

   warrant signed on August 5, 2022, and materials associated with that warrant. The Court

   also later granted the government's motion to seal a document consisting of the search

   warrant and redacted property receipt, pending resolution of the government's motion to

   unseal those materials (DEl; DEl 7). The document filed with the government's Second

   Notice consists of redacted versions of additional materials that this Court originally sealed:


                                                  1
Case 9:22-mj-08332-BER Document 55 Entered on FLSD Docket 08/15/2022 Page 2 of 2




    the cover sheets to the search warrant application (DEl:l, 4), the government's original

   motion to seal (DE2), and the Court's order granting that motion (DE3). Because the

   unredacted original versions of these documents are subject to the Court's earlier order, the

   government respectfully requests that the Court seal the Second Notice and attachment,

   pending further order of the Court. 1

                                           CONCLUSION

          WHEREFORE, for these reasons, the United States of America respectfully requests

   that the Court issue an Order sealing the Second Notice of Filing of Redacted Documents

   and its attachment.




   Dated: August 15, 2022                           Respectfully submitted,


                                                    JUAN ANTONIO GONZALEZ
                                                    UNIT   STATES ATTORNEY

                                             By:

                                                                         388
                                                                     , 8th Floor
                                                        mi, Fl 33132
                                                     e : 305-961-9001
                                                    Email: juan. antonio.gonzalez@usdoj .gov




   1
     In response to intervenors' motions to unseal additional wanant materials, the
   government, at the appropriate time, will take the position that it does not object to the
   unsealing of this limited set of additional documents.


                                                2
